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                                  Proposed Attorneys for Debtors
                             15   and Debtors in Possession
                             16                               UNITED STATES BANKRUPTCY COURT
                             17                               NORTHERN DISTRICT OF CALIFORNIA
                                                                   SAN FRANCISCO DIVISION
                             18
                                  In re:                                           Bankruptcy Case
                             19                                                    No. 19-30088 (DM)
                             20   PG&E CORPORATION,                                Chapter 11 (Lead Case)
                                                                                   (Jointly Administered)
                             21            - and -
                                                                                   MOTION OF DEBTORS PURSUANT TO
                             22   PACIFIC GAS AND ELECTRIC                         11 U.S.C. § 365(a), FED. R. BANKR. P. 6006,
                                  COMPANY,                                         AND B.L.R. 6006-1 FOR AN ORDER
                             23                       Debtors.                     APPROVING THE UTILITY’S ASSUMPTION
                                                                                   OF CERTAIN AGREEMENTS WITH
                             24    Affects PG&E Corporation                       QUANTA ENERGY SERVICES, LLC
                                   Affects Pacific Gas and Electric Company       (“QUANTA ASSUMPTION MOTION”)
                             25    Affects both Debtors
                             26                                                    Date: April 24, 2019
                                  * All papers shall be filed in the Lead Case,
                                  No. 19-30088 (DM).                               Time: 9:30 a.m. (Pacific Time)
                             27                                                    Place: United States Bankruptcy Court
                                                                                          Courtroom 17, 16th Floor
                             28                                                           San Francisco, CA 94102

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                             1                   PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company
                             2    (the “Utility”), as debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the
                             3    above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby submit this Motion (the “Motion”),
                             4    pursuant to section 365(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 6006(d)
                             5    of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6006-1 of the
                             6    Bankruptcy Local Rules for the United States District Court for the Northern District of California

                             7    (the “Bankruptcy Local Rules”), for an order approving the Utility’s assumption of certain contracts
                             8    with Quanta Energy Services, LLC and its affiliated companies (collectively, the “Quanta
                             9    Companies”), pursuant to which the Quanta Companies provide critical infrastructure services that
                             10   support the safety and integrity of the Utility’s electric and gas systems and are essential to the timely

                             11   completion of the Utility’s Wildfire Safety Program (as defined below).

                             12                  In support of the Motion, the Debtors submit the Declaration of Steve Coleman
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                             13   (the “Coleman Declaration”), filed contemporaneously herewith. A proposed form of order granting
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                             14   the relief requested herein is annexed hereto as Exhibit A (the “Proposed Order”).
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                             1                           MEMORANDUM OF POINTS AND AUTHORITIES
                             2    I.     JURISDICTION
                             3                   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334,

                             4    the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24 (N.D.

                             5    Cal.), and Bankruptcy Local Rule 5011-1(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                             6    Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                             7    II.    BACKGROUND
                             8                   On January 29, 2019 (the “Petition Date”), the Debtors commenced with the Court
                             9    voluntary cases under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

                             10   businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108

                             11   of the Bankruptcy Code. No trustee or examiner has been appointed in either of the Chapter 11 Cases.

                             12   The Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes only pursuant to
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                             13   Bankruptcy Rule 1015(b).
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                             14                  On February 12, 2019, the United States Trustee (the “U.S. Trustee”) appointed an
                             15   Official Committee of Unsecured Creditors (the “Creditors Committee”). On February 15, 2019, the
                             16   U.S. Trustee appointed an Official Committee of Tort Claimants (the “Tort Claimants Committee”
                             17   and, together with the Creditors Committee, the “Committees”).
                             18                  Additional information regarding the circumstances leading to the commencement of the

                             19   Chapter 11 Cases and information regarding the Debtors’ businesses and capital structure is set forth in

                             20   the Amended Declaration of Jason P. Wells in Support of the First Day Motions and Related Relief

                             21   [Docket No. 263] (the “Wells Declaration”).
                             22   III.   THE WILDFIRE SAFETY INSPECTION PROGRAM
                             23                  As part of the Utility’s ongoing efforts to implement additional precautionary measures,

                             24   and consistent with certain legislative and judicial directives, the Utility is performing accelerated safety

                             25   inspections of electrical infrastructure in high fire-threat areas. This work, which is being conducted in

                             26   addition to the routine inspections and maintenance conducted by the Utility, is intended to further reduce

                             27   the threat of wildfires and is being performed on an accelerated basis as part of the Utility’s Wildfire

                             28   Safety Inspection Program (the “Wildfire Safety Program”). In connection with the Wildfire Safety

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                             1    Program, the Utility is conducting a comprehensive inspection of electric towers and poles in high fire-

                             2    threat areas, which requires, among other things, ground inspection of electric poles by qualified

                             3    linemen, climbing inspections of transmission towers by professionals, and aerial inspections using

                             4    helicopters and drones to further enhance and complement visual inspections. The Utility is working

                             5    diligently to complete these inspections prior to the 2019 wildfire season, an effort that requires the

                             6    Utility to contract with third parties to supply a large-scale skilled labor force, including qualified

                             7    electrical workers, and specialty equipment.

                             8                   Since November 2018, the Utility has contracted with the Quanta Companies to provide

                             9    labor and equipment in support of the Wildfire Safety Program. To perform their work under these

                             10   agreements, the Quanta Companies have deployed over 1,100 skilled craft labor and almost 1,000 pieces

                             11   of specialty equipment to the Utility’s service region, including multiple types of bucket trucks, flatbed

                             12   trucks, service trucks, pickup trucks, mechanics trucks, trailers, cranes, diggers, utility task vehicles, and
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                             13   other equipment necessary for the extensive work. The total value of the equipment deployed by the
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                             14   Quanta Companies thus far at the request of the Utility is in excess of $200 million. In addition, sixty

                             15   professionals from the Quanta Companies have been working as part of the Quanta Program

                             16   Management Team in support of the Wildfire Safety Program, including Project Managers, Assistant

                             17   Project Managers, Field Engineers, Safety Directors, Field Coordinators and others. This team of

                             18   professionals is further supported by additional employees of the Quanta Companies from across the

                             19   United States and from Canada who are involved in the Wildfire Safety Program.

                             20                  Through their work with the Utility, the Quanta Companies have acquired an

                             21   understanding of and familiarity with the Utility’s operations that enables them to perform high quality

                             22   and cost-effective work in a manner that is responsive to the immediate needs of the Utility. In addition,

                             23   the Quanta Companies have a strong business relationship with the Debtors’ International Brotherhood

                             24   of Electrical Workers (“IBEW”) partner – Local 1245, which enables the Quanta Companies to facilitate
                             25   a mass mobilization of over 900 IBEW craft labor electrical workers to the Utility’s service territory to

                             26   assist with critical work related to its transmission equipment and systems in response to wildfires.

                             27   Based on the Utility’s experience, other than the Quanta Companies, there are few, if any, companies

                             28   that have the capacity and resources to invest in, mobilize, and deploy the magnitude of skilled craft

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                              1   labor, professionals, and specialty equipment the Utility requires to implement the Wildfire Safety

                              2   Program, especially on an accelerated basis.

                              3   IV.    THE QUANTA CONTRACTS
                              4                 The Quanta Companies are party to a number of contracts with the Utility; however, the

                              5   Utility is only seeking approval to assume two specific contracts pursuant to this Motion, which are of

                              6   immediate consequence to the Utility’s transmission systems and the work being conducted in

                              7   connection with the Wildfire Safety Program: (i) the Transmission Inspection Agreement, dated as of

                              8   December 20, 2018 (the “TIA”), and (ii) the Cross Cut Agreement, dated as of March 26, 2016
                              9   (the “CCA” and, together with the TIA, the “Quanta Contracts”). Copies of the Quanta Contracts are
                             10   annexed hereto as Exhibit B and Exhibit C, respectively. 1 As of the Petition Date, the Utility owed a
                             11   total of approximately $158.2 million in the aggregate for unpaid and outstanding prepetition amounts

                             12   under all of its agreements with the Quanta Companies. 2 As noted above, however, the Utility is not
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                             13   seeking approval pursuant to this Motion to assume all of its existing contracts with the Quanta
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                             14   Companies; rather, the Utility is only seeking approval to assume the TIA and CCA, under which the

                             15   Utility owes a total aggregate amount of $116,103,954 for unpaid prepetition amounts (the “Cure
                             16   Amount”). 3 Each of the Quanta Contracts is discussed in further detail below.
                             17          A.     The Transmission Inspection Agreement
                             18                 The Utility entered into the TIA with the Quanta Companies in December 2018 to provide
                             19   labor and services for the electric transmission system component of the Wildfire Safety Program, which

                             20   covers both the inspection and, as necessary, the repair of approximately 50,000 electric transmission

                             21   structures – roughly 35,000 poles and 15,000 lattice towers. Pursuant to the TIA, the Quanta Companies’

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                                   Certain commercially sensitive information in the Quanta Contracts relating to overhead and cost
                             23  structures has been redacted at the request of the Quanta Companies. A motion to redact has been filed
                             24 contemporaneously     herewith. Unredacted copies will be provided to the U.S. Trustee and counsel for
                                 each of the Committees.
                             25 2 This estimate includes approximately $20.6 million in prepetition costs and expenses that have not
                                 yet been invoiced and approximately $12.5 million that remains subject to ongoing reconciliation by
                             26 the parties.
                                 3
                                   Approximately $8.5 million of the proposed Cure Amount relates to cost and expenses that have been
                             27 incurred  by the Quanta Companies prior to the date hereof, but for which invoices have yet to be
                                 submitted  or for which the invoiced amounts are subject to ongoing reconciliation by the parties. The
                             28 Debtors will   continue to work with the Quanta Companies to reconcile such amounts up to and
                                 including the date of the hearing on this Motion.
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                             1    workforce, after completing extensive training, inspects the structures for evaluation of the strength,

                             2    durability, and quality of the Utility’s electric transmission towers and poles. Data from all of the

                             3    inspections is gathered by the Quanta Companies and analyzed by the Utility to prioritize necessary

                             4    repairs based on urgency and potential risk. The TIA also covers repair work, as directed by the Debtors.

                             5                   The Quanta Companies’ current scope of work under the TIA for the transmission system

                             6    does not authorize work beyond (i) $200 million in invoices or (ii) June 30, 2019. Because it was crucial

                             7    that the inspection work be performed as quickly as possible so that necessary repairs could be initiated

                             8    prior to wildfire season in California, the Utility and the Quanta Companies ramped up their efforts over

                             9    the 2018 holiday season and through January 2019, moving over 800 workers into Northern California

                             10   to conduct inspections and provide support. As a result of this effort, as of the Petition Date, the Utility

                             11   owed $64,377,543 for unpaid and outstanding prepetition amounts under the TIA, and the invoice limit

                             12   under the existing scope of work for the TIA has now been reached. The inspection process, however,
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                             13   is not yet complete, and the Utility also desires to expand the Quanta Companies’ scope of work under
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                             14   the TIA to cover, among other things, the inspection of the Utility’s substations, which is another crucial

                             15   component of the Utility’s fire safety efforts. This requested expansion would increase the work

                             16   authorization cap by an additional $200 million, with the potential for additional increases in the future.

                             17   The Quanta Companies, at the Utility’s request, have continued to perform under the TIA; however, the

                             18   Quanta Companies have indicated to the Utility that, in order to expand the scope of their work under

                             19   the TIA, they need the legal certainty that the terms of this contract will be fully enforceable through

                             20   assumption.

                             21          B.      The Cross Cut Agreement
                             22                  The CCA consists of both a Master Service Agreement (the “MSA”) that provides the
                             23   general terms for the Quanta Companies’ work and a series of Contract Work Authorizations (“CWAs”)
                             24   that contain the scope and specific terms for each project governed by the MSA. The CCA is an

                             25   “Enterprise-Wide” contract between the Utility and the Quanta Companies that allows the Quanta

                             26   Companies to perform crucial work for the Utility without the typical delay involved in dealing with

                             27   multiple vendors. The CCA allows the Utility, in the event of future response, repair, and restoration

                             28   work, to call on the full network of the Quanta Companies through additional CWAs under the CCA to

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                             1    provide these critical services at the magnitude required. The CCA is critically important for the

                             2    implementation of the Utility’s programs that require large crews of trained electrical workers, such as

                             3    the Wildfire Safety Program. To date, the Quanta Companies have worked on specific projects under

                             4    the CCA regarding the safety and integrity of the Utility’s electric and gas systems, including, without

                             5    limitation, electric transmission inspection and repair, electric distribution engineering, underground

                             6    cable replacement, gas distribution inspection and repair, high pressure regulator replacement, safety

                             7    training and compliance, inspection services, and repair services. However, as with the TIA, the Quanta

                             8    Companies have also requested that the Utility assume the CCA so that they can have certainty that the

                             9    provisions of the CCA will be binding as they are called upon to take on new projects under that contract.

                             10   The CCA is set to expire March 31, 2021. As of the Petition Date, the Utility owed $51,726,411 for

                             11   unpaid and outstanding prepetition amounts under the CCA.

                             12          C.      Limitation of Liability Provisions
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                             13                  Both the TIA and CCA include provisions that limit the Quanta Companies’ potential
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                             14   liability for work performed under the Quanta Contracts. Under the TIA, the Quanta Companies are

                             15   required to cover the first $200 million of claims related to their work. For claims above this amount,

                             16   the Quanta Companies have a right to indemnification from the Utility.            Similarly, the Quanta

                             17   Companies’ liability is capped under the CCA at the greater of $10 million or 200% of the value of the

                             18   CWA issued by the Utility for the work at issue. The Utility understands that the Quanta Companies

                             19   would not have been willing to enter into either the TIA or the CCA, nor to perform the work needed for

                             20   the safety and integrity and the Utility’s infrastructure systems, without these critical limitation of

                             21   liability provisions. Furthermore, the Quanta Companies have indicated to the Utility that, as they are

                             22   called upon to significantly expand the scope of their work under the TIA and to take on new projects

                             23   under the CCA, they need legal certainty their work is subject to these limitation of liability provisions

                             24   for a number of business reasons, including their ability to obtain sufficient insurance coverage in

                             25   connection with their work for the Utility.

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                             1    V.     ASSUMPTION OF THE QUANTA CONTRACTS IS IN THE BEST INTERESTS OF
                                         THE UTILITY, ITS CREDITORS, AND ALL PARTIES IN INTEREST
                             2

                             3                   The Utility seeks to assume the Quanta Contracts in order to ensure the continuation of

                             4    critical infrastructure services that support both the safety and integrity of its electric and gas systems.

                             5    As stated above, the work performed pursuant to the Quanta Contracts is critical to the implementation

                             6    of the Wildfire Safety Programs, and consistent with legislative and judicial guidance. The Utility

                             7    believes that continuation of the work under the Quanta Contracts is essential to its ongoing operations

                             8    and to maintaining the integrity of its systems.

                             9                   The Utility believes that the Quanta Companies are in a unique position to provide these

                             10   vital services and cannot be easily replaced in a timely or cost-efficient manner. As stated, the Quanta

                             11   Companies have established an integral relationship with the Utility and have acquired an understanding

                             12   of and familiarity with the Utility’s operations. This familiarity enables the Quanta Companies to
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                             13   perform high quality and cost-effective work for the Utility. Additionally, the Utility believes that few
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                             14   other companies have the capacity and resources that the Quanta Companies have to invest in, mobilize,

                             15   and deploy the magnitude of skilled craft labor, professionals, and specialty equipment as is required in

                             16   these circumstances. Not only can the Quanta Companies draw on resources from their numerous

                             17   affiliated companies, but they have a good working relationship with the Utility’s IBEW partner which

                             18   facilitates the mass mobilization of skilled laborers that the Wildfire Safety Program work requires.
                             19                  Further, as stated above, the Quanta Companies have already surpassed the dollar amount

                             20   cap provided under the current scope of work provided in the TIA. The Utility needs to expand the scope

                             21   of the work the Quanta Companies perform under the Quanta Contracts, and in order to perform that

                             22   expanded scope of work, the Quanta Companies need the Quanta Contracts to be assumed so that they

                             23   will have the certainty that their contract terms will be fully enforceable. As noted above, the Utility is

                             24   not seeking to assume all of its existing contracts with the Quanta Companies at this time but rather is

                             25   only seeking to assume the TIA and the CCA. The work currently performed by the Quanta Companies

                             26   under these agreements, and the potential work under the contemplated expanded scope, are integral to

                             27   the Utility’s efforts to enhance the safety and integrity of its electrical transmission system and adhere

                             28   to government regulations and directives.

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                             1    VI.    BASIS FOR RELIEF REQUESTED
                             2                   The Utility’s assumption of the Quanta Contracts should be approved under section

                             3    365(a) of the Bankruptcy Code. Section 365(a) of the Bankruptcy Code provides, in pertinent part, that

                             4    a debtor in possession “subject to the court’s approval, may assume or reject any executory contract . . .

                             5    of the debtor.” 11 U.S.C. § 365(a).

                             6                   The Supreme Court has defined “executory contracts” as contracts “on which

                             7    performance remains due to some extent on both sides.” NLRB v Bildisco & Bildisco, 465 U.S. 513, 522

                             8    n.6 (1984). The Ninth Circuit has described executory contracts in similar terms, describing them as

                             9    contracts where “one party’s failure to perform its obligation would excuse the other party’s

                             10   performance.” In re International Fibercom, Inc., 503 F.3d 933 (9th Cir., 2007) at 941, citing

                             11   Commercial Union Ins. Co. v. Texscan Corp. (In re Texscan Corp.), 976 F.2d 1269, 1272 (9th Cir.1992).

                             12   The Quanta Contracts clearly fall within this definition. In each case, there remain material performance
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                             13   obligations of both the Debtors and the Quanta Companies under the Quanta Contracts.
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                             14                  Bankruptcy Courts generally “approve motions to assume, assume and assign, or reject

                             15   executory contracts or unexpired leases upon a showing that the debtor's decision to take such action

                             16   will benefit the debtor's estate and is an exercise of sound business judgment.” In re MF Glob. Holdings

                             17   Ltd., 466 B.R. 239, 242 (Bankr. S.D.N.Y. 2012); see also Orion Pictures Corp. v. Showtime Networks,

                             18   Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1099 (2d Cir. 1993); Durkin v. Benedor, 204 F.3d 1276,
                             19   1282 (9th Cir., 2000).

                             20                  The “business judgment” standard is not a strict standard; it requires only a showing that

                             21   either assumption or rejection of the executory contract will benefit the debtor’s estate. See In re Genco

                             22   Shipping & Trading Ltd., 509 B.R. 455, 463 (Bankr. S.D.N.Y. 2014); In re MF Glob. Holdings Ltd., 466

                             23   B.R. at 242; In re Helm, 335 B.R. 528, 538 (Bankr. S.D.N.Y. 2006); In re Integrated Res., Inc., 147 B.R.

                             24   650, 656 (S.D.N.Y. 1992); Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-

                             25   Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (where the debtor articulates a reasonable

                             26   basis for its business decisions, courts will generally not entertain objections to the debtor’s conduct).

                             27   Furthermore, “[c]ourts generally will not second-guess a debtor's business judgment concerning whether

                             28   an assumption or rejection benefits the debtor's estate.” In re MF Glob. Holdings Ltd., 466 B.R. at 242;

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                             1    In re Balco Equities Ltd., Inc., 323 B.R. 85, 98 (Bankr. S.D.N.Y. 2005). The Court should “presume that

                             2    the debtor-in-possession acted prudently, on an informed basis, in good faith, and in the honest belief

                             3    that the action taken was in the best interests of the bankruptcy estate.” In re Pomona Valley Medical

                             4    Group, Inc., 476 F.3d 665, 670 (9th Cir., 2007) (in the context of a motion to reject under section 365(a)).

                             5    Only a decision which is “so manifestly unreasonable that it could not be based on sound business

                             6    judgment, but only on bad faith, or whim or caprice” falls foul of the rule. Id.

                             7                   As set forth above and in the Coleman Declaration, the Utility seeks to assume the Quanta

                             8    Contracts to ensure the safe operation of their gas and electric systems and to continue to implement the

                             9    Wildfire Safety Program, an effort that is consistent with judicial and legislative directives. These

                             10   matters are fundamental to the continued ability of the Utility to operate its business in a safe and reliable

                             11   manner, which, in turn, is fundamental to its ability to successfully reorganize.               Under these

                             12   circumstances and based on, among other things, the Quanta Companies’ unique ability to perform these
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                             13   critical services, assumption of the Quanta Contracts clearly represents a sound exercise of the Utility’s
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                             14   business judgment.

                             15                  When assuming an executory contract, section 365(b) of the Bankruptcy Code requires

                             16   the debtor to cure any defaults under the contract or provide adequate assurance that it will promptly

                             17   cure these defaults. See 11 U.S.C. § 365(b)(1)(A); see also Regen Capital I, Inc. v. Halperin (In re U.

                             18   S. Wireless Data, Inc.), 547 F.3d 484, 489 (2d Cir. 2008). The Debtors, therefore, seek authority to cure
                             19   any defaults under the Quanta Contracts, which the Debtors estimate to be in the aggregate amount of

                             20   $116,103,954. Accordingly, for the reasons set forth herein and in the Coleman Declaration, the relief

                             21   request in the Motion should be approved and the assumption of the Quanta Contracts should be

                             22   approved.

                             23   VII.   NOTICE
                             24                  Notice of this Motion will be provided to (i) the Office of the United States Trustee for

                             25   Region 17 (Attn: James L. Snyder, Esq. and Timothy Laffredi, Esq.); (ii) counsel to the Creditors

                             26   Committee; (iii) counsel to Tort Claimants Committee; (iv) the Securities and Exchange Commission;

                             27   (v) the Internal Revenue Service; (vi) the Office of the California Attorney General; (vii) the California

                             28   Public Utilities Commission; (viii) the Nuclear Regulatory Commission; (ix) the Federal Energy

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                             1    Regulatory Commission; (x) the Office of the United States Attorney for the Northern District of

                             2    California; (xi) counsel for the agent under the Debtors’ debtor in possession financing facility; (xii) the

                             3    Quanta Companies; and (xiii) those persons who have formally appeared in these Chapter 11 Cases and

                             4    requested service pursuant to Bankruptcy Rule 2002. The Debtors respectfully submit that no further

                             5    notice is required.

                             6                   No previous request for the relief sought herein has been made by the Debtors to this or

                             7    any other court.

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                             1            WHEREFORE the Utility respectfully request entry of an order granting (i) the relief requested

                             2    herein as a sound exercise of the Utility’s business judgment and in the best interests of its estate,

                             3    creditors, shareholders, and all other parties in interest, and (ii) such other and further relief as the Court

                             4    may deem just and appropriate.

                             5

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                             7    Dated: April 3, 2019
                                                                                          WEIL, GOTSHAL & MANGES LLP
                             8
                                                                                          KELLER & BENVENUTTI LLP
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                             10                                                           By: /s/ Jane Kim_________________
                                                                                                 Jane Kim
                             11
                                                                                          Proposed Attorneys for Debtors
                             12                                                           and Debtors in Possession
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